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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

UNITED STATES OF AMERICA,


                        Plaintiff,
vs.                                          Case No.   2:05-cr-71-FtM-33DNF

TERRENCE DENMARK,

                    Defendant.
______________________________________/

                                     ORDER

      This matter comes before the Court on Defendant’s Motion to

Sever Defendant and Misjoined Counts (Doc. # 204) filed on October

11, 2005.    The Government filed if Response in Opposition (Doc. #

213) on October 20, 2005.

I.    Background

      Defendant Denmark is named in Count One of a six-count

superseding indictment charging twenty-three individual defendants

with drug-related charges (Doc. # 7).            Count One, the only count

Defendant Denmark is named in, charges that all of the defendants

“did knowingly and willfully combine, conspire, confederate and

agree with each other and other persons . . . to distribute five

(5) kilograms or more of a mixture or substance containing a

detectable amount of cocaine . . . and to distribute fifty (50)

grams or more of a mixture or substance containing cocaine base

. . .” (Doc. # 7 at 2).         Count Two charges Antonio Payne with

distributing cocaine, Count Three charges Jonathan E. Foster with

distributing cocaine base, Count Four charges Dwayne L. Hardwick
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and Antonio Payne with possession of cocaine base with intent to

distribute, Count Five charges Antonio Payne with distributing

cocaine, and Count Six charges Antonio Payne with possession with

intent   to   distribute    cocaine.   (Doc.   #   7).   As   noted   supra,

Defendant Denmark is named in Count One only.

       In the motion sub judice, Defendant Denmark requests that this

Court sever the separate charges against him and the trial from his

co-defendants pursuant to Federal Rules of Criminal Procedure 8 and

14.

       Upon due consideration, this Court finds that Defendant’s

motion to sever should be denied in its entirety.

II.    Standard of Review

       A District Court’s denial of a motion to sever is reviewed for

abuse of discretion. United States v. Walser, 3 F.3d 380, 385 (11th

Cir. 1993).     The Eleventh Circuit “will not reverse the denial of

a severance motion absent a clear abuse of discretion resulting in

compelling prejudice against which the district court could offer

no protection.” Id.         As stated in United States v. Schlei, a

defendant can demonstrate compelling prejudice by showing that “the

jury   was    unable   to   sift   through   the   evidence   and   make   an

individualized determination as to each defendant.”           122 F.3d 944,

984 (11th Cir. 1997)(citations omitted). In addition, the Eleventh

Circuit has noted, “This Court is reluctant to reverse a district

court’s denial of severance, particularly in conspiracy cases, as


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generally persons who are charged together should also be tried

together.” United States v. Knowles, 66 F.3d 1146, 1158 (11th Cir.

1995)(citations omitted).

III. Analysis

      A.    Initial Joinder

      In order to ascertain whether severance of the counts and

defendants in this cause is necessary, the Court must first

ascertain whether initial joinder of the offenses and defendants in

the same indictment was appropriate under Rule 8 of Federal Rules

of Criminal Procedure.      United States v. Montes-Cardenas, 746 F.2d

771, 776 (11th Cir. 1984). Federal Rule of Criminal Procedure 8(a)

states:

      (a) Joinder of Offenses. The indictment or information
      may charge a defendant in separate counts with 2 or more
      offenses if the offenses charged–whether felonies or
      misdemeanors or both–are of the same or similar
      character, or are based on the same act or transaction,
      or are connected with or constitute parts of a common
      scheme or plan.

      (b) Joinder of Defendants. The indictment or information
      may charge 2 or more defendants if they are alleged to
      have participated in the same act or transaction, or in
      the same series of acts or transactions, constituting an
      offense or offenses. The defendants may be charged in
      one or more counts together or separately.           All
      defendants need not be charged in each count.

      According to United States v. Hersh, “Rule 8(a) is construed

broadly in favor of initial joinder, allowing joinder of offenses

that are of the same or similar character, even if such offenses do

not arise at the same time or out of the same series of acts or


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transactions.”      297 F.3d 1233, 1240 (11th Cir. 2002)(internal

citations omitted).      The burden of establishing that the initial

joinder was proper lies with the Government.         Montes-Cardenas, 746

F.2d at 776.

      While Defendant argues that Count One is not based on the same

transactions as Counts Two through Six, and that the counts are not

connected, this Court agrees with the Government that “[t]he

offenses charged are of the same nature and related to common

conspirators,     including   the   Defendant.”    (Doc.   #   213   at   3).

Defendant fails to assert any specific argument that his initial

joinder with the co-defendants in this case was improper.             Thus,

this Court finds that the Government has met its burden of showing

that the initial joinder of counts and defendants was proper under

Rule 8.

      B.    Severance

      Even where initial joinder is appropriate under Rule 8,

Fed.R.Crim.P., the Court may order separate trials of counts and

defendants when necessary pursuant to Rule 14(a), Fed.R.Civ.P.,

which states:

      Relief: If the joinder of offenses or defendants in an
      indictment, information, or a consolidation for trial
      appears to prejudice a defendant or the government, the
      court may order separate trials of counts, sever the
      defendants’ trials, or provide any other relief that
      justice requires.

      In deciding a motion for severance, the Court “must balance

the right of a defendant to a fair trial against the public’s

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interest in efficient and economic administration of justice.”

United States v. Zielie, 734 F.2d 1447, 1464 (11th Cir. 1984).

More specifically, the Eleventh Circuit has interpreted Rule 14 to

require a Defendant seeking severance to demonstrate specific and

compelling prejudice arising from a joint trial.            United States v.

Leavitt, 878 F.2d 1329, 1340 (11th Cir. 1989).                    The level of

prejudice claimed by the party seeking severance must amount to

“fundamental unfairness.”       Knowles, 66 F.3d at 1159.

         As noted supra, a defendant can show compelling prejudice by

demonstrating that the jury would not be able to separate the

evidence relevant to each count and defendant Id.                 The Eleventh

Circuit has also described this test as follows: “The test for

assessing    compelling    prejudice       is   whether   under    all   of   the

circumstances of a particular case it is within the capacity of

jurors to follow a court’s limiting instructions and appraise the

independent evidence against a defendant solely on that defendant’s

own acts, statements, and conduct in relation to the allegations

contained in the indictment and render and fair and impartial

verdict.”    Walser, 3 F.3d at 386-387.

      Further, instructions to the jury which require the jury to

consider the evidence separately as to each defendant and count

have been held to be adequate safeguards against prejudice due to

joinder.    United States v. Kopituk, 690 F.2d 1289, 1320 (11th Cir.

1982).     It should be further noted that jurors are presumed to


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follow the instructions given by the trial judge. United States v.

Shenberg, 89 F.3d 1461, 1472 (11th Cir. 1996).

      In this case, Defendant has not met his burden of establishing

compelling prejudice with regard to joinder of the counts or the

defendants.

              1.     Severance of Counts

      Defendant argues that Count One should be severed from Counts

Two through Six, but fails to make any specific arguments regarding

the   facts    and    circumstances   of   this   case   that   demonstrate

compelling prejudice.1       Defendant simply asserts that Count One is

“separate from” the other counts and “not connected” to the other

counts.     Defendant has failed to make a convincing argument of

“compelling prejudice” and has failed to demonstrate that a jury

would be incapable of separating the evidence in this case as to

the distinct counts, and would be unable to reach a fair verdict.

      Thus, at this stage of the case, this Court determines that

severance of Count One is not required.

              2.     Severance of Defendants

      Defendant argues that his trial should be severed from the

trial of the other defendants for a variety of separate reasons.

He argues that Burton problems will cause unfair prejudice, he


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      A claim of compelling prejudice must be specific and based in
fact as “bare allegations [which give] the trial judge no factual
basis on which to evaluate any prejudice” are insufficient. Montes-
Cardenas, 746 F.2d at 778.

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argues that he will offer defenses “antagonistic” to the defenses

of his co-defendants, and he argues that much of the evidence that

the Government will present will apply to other defendants and not

Denmark.

      With regard to the Bruton issues, the Court agrees with the

Government that, at this stage of the case, where no specific

confession evidence has been brought to fore, any Burton problems

can be cured via redaction or cross examination.2         Thus, severance

is not required under Bruton.

      Defendant also argues that severance is appropriate because

Defendant Denmark plans to assert defenses that are antagonistic to

the defenses that his co-defendants will offer.3        As to Defendant’s


      2
      In Bruton v. United States, 391 U.S. 123, 126 (1968), the
Supreme Court held that the Confrontation Clause of the Sixth
Amendment was violated when the confession of one defendant, which
implicated another defendant, was considered by the jury at a joint
trial of the defendants, and the confessing defendant failed to
take the witness stand to allow cross examination by the other
defendant who was implicated by the confession. The Supreme Court
so held despite the fact that the jury was instructed to consider
the confession evidence only against the defendant who gave the
confession. However, in Richardson v. Marsh, 481 U.S. 200, 211
(1987), the Supreme Court determined that the Confrontation Clause
was not violated by the admission of a non-testifying defendant’s
confession so long as references to an implicated co-defendant were
redacted.
      3
       The Eleventh Circuit has ruled, “In order to compel
severance, the defenses of co-defendants must be more than merely
antagonistic, they must be antagonistic to the point of being
mutually exclusive. Put another way, defenses can only be found to
be antagonistic if the jury, in order to believe the core of
testimony offered on behalf of one defendant must necessarily
disbelieve the testimony offered on behalf of his codefendant.”
Knowles, 66 F.3d at 1159.

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“antagonistic     defenses”   argument,       the    Court   agrees     with   the

Government    that   Defendant   has       failed   to   assert   any     specific

argument demonstrating that the defenses Defendant plans to assert

are antagonistic to the defenses of his co-defendants.                  Defendant

Denmark’s    arguments   on   this   point     are    too    vague   to   warrant

consideration.

      In addition, Defendant argues that a majority of the evidence

that the government will likely introduce will not apply to him.4

However, as stated in Schlei, 122 F.3d at 984, “A defendant does

not suffer compelling prejudice, sufficient to mandate severance,

simply because much of the evidence at trial is applicable only to

co-defendants.”      Accordingly, severance is not warranted on this

ground.

IV.   Conclusion

      This Court agrees that defendants who are charged together

should be tried together. Knowles, 66 F.3d at 1158. Defendant has

not met his burden of establishing compelling prejudice to him that

cannot be cured by an instruction advising the jury to consider




      4
       Specifically, Defendant argues, “[T]he government will
introduce overwhelming evidence      relating to Antonio Payne’s
organization and cocaine trafficking and his criminal activities
and associates in cocaine distribution and the potential for unfair
prejudice to defendant is both obvious and compelling, the
prejudicial spillover is clear and guilt by association is
unavoidable in this case.” (Doc. # 204 at 3).

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each defendant and each offense separately.

      Accordingly, it is hereby

      ORDERED, ADJUDGED, and DECREED:

(1)   Defendant’s Motion to Sever Defendant and Misjoined Counts

      (Doc. # 204) is DENIED.

      DONE and ORDERED in Chambers in Ft. Myers, Florida, this 25th

day of October, 2005.




Copies:



All Counsel of Record




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